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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

 PERSONALIZED MEDIA                           §
 COMMUNICATIONS, LLC                          §
                                              §
              Plaintiff,                      §
                                              §
 v.                                           §
                                              §   Case No. 2:19-cv-00090-JRG
 GOOGLE, LLC, ET AL                           §
                                              §
                                              §
              Defendants.                     §

                      MINUTES FOR JURY TRIAL DAY TWO
              HELD BEFORE U. S. DISTRICT JUDGE RODNEY GILSTRAP
                                 November 3, 2020

OPEN: 8:31 a.m.                                                       ADJOURN: 6:47 p.m.

 ATTORNEYS FOR PLAINTIFF:                    See attached.

 ATTORNEYS FOR DEFENDANTS:                   See attached.

 LAW CLERKS:                                 Adrienne Dellinger
                                             Lee Matalon

 COURT REPORTER:                             Shelly Holmes, CSR-TCRR

 COURTROOM DEPUTY:                           Jan Lockhart


 TIME         MINUTES
 8:31 a.m.    Court opened. Exhibits used prior day read into the record.
 8:44 a.m.    Video deposition of Reynaldo Gonzales.
 8:48 a.m.    Video deposition of Henry Green.
 8:58 a.m.    Video deposition of Benjamin Hulse.
 9:07 a.m.    Video deposition of Dale Curtis.
 9:14 a.m.    Direct examination of Zixiang Xiong, Ph.D. by Ms. Lusztig.
 9:31 a.m.    Courtroom sealed.
 10:18 a.m.   Courtroom unsealed. Recess.
 10:46 a.m.   Court reconvened. Jury returned to the courtroom. Courtroom sealed.
 10:47 a.m.   Direct examination of Zixiang Xiong, Ph.D. by Ms. Lusztig.
 11:57 a.m.   Lunch recess.
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 TIME        MINUTES
 1:10 p.m.   Court reconvened. Hearing outside the presence of the Jury.
 1:17 p.m.   Jury returned to the courtroom.
 1:18 p.m.   Courtroom sealed.
 1:19 p.m.   Direct examination of Zixiang Xiong, Ph.D. by Ms. Lusztig.
 2:07 p.m.   Courtroom unsealed.
             Cross examination of Zixiang Xiong, Ph.D. by Mr.Verhoeven.
 2:42 p.m.   Jury excused for recess. Hearing outside the presence of the Jury.
 2:46 p.m.   Recess.
 2:58 p.m.   Hearing outside the presence of the Jury.
 3:09 p.m.   Jury returned to the courtroom. Cross examination of Zixiang Xiong, Ph.D. by Mr.
             Verhoeven.
 4:11 p.m.   Redirect examination of Zixiang Xiong, Ph.D. by Ms. Lusztig.
 4:14 p.m.   Parties passed the witness.
 4:14 p.m.   Video deposition of Gary Marc Butter.
 4:23 p.m.   Video deposition of Amar Mehta.
 4:38 p.m.   Video deposition of Andrew Rope.
 4:54 p.m.   Recess.
 5:16 p.m.   Jury returned to the courtroom.
 5:17 p.m.   Video deposition of Laura Sheridan.
 6:37 p.m.   Jury excused until 8:30 a.m. Hearing outside the presence of the Jury.
 6:47 p.m.   Court adjourned.




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